Case 03-93031-bem
      Case 1:25-cv-00613-MLB
                    Doc 13 Filed
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                                                                Page 1 of
                                                                       Desc
                                                                          7 Main
                            Document Page 1 of 4




                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

IN RE:                                              :          CHAPTER 11
                                                    :
GROUP MANAGEMENT CORP.,                             :          CASE NO. 03-93031
a/k/a IVG Corp.,                                    :
                                                    :
         DEBTOR.                                    :          JUDGE MURPHY

  UNITED STATES TRUSTEE'S MOTION FOR DISMISSAL WITH PREJUDICE OR
                   FOR CONVERSION TO CHAPTER 7

         COMES NOW the United States Trustee for Region 21, in furtherance of the administrative

responsibilities imposed by 28 U.S.C. § 586(a), and pursuant to 11 U.S.C. §§ 105(a) and 1112(b)

respectfully moves this Court to enter an order converting this case to a case under chapter 7 of the

Bankruptcy Code or, in the alternative, dismissing it with prejudice to Debtor’s ability to seek further

relief under chapter 11 of the Bankruptcy Code for a period of 180 days. In support thereof, the

United States Trustee represents as follows:

         1. Debtor filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code on

March 18, 2003, and has remained in control of the assets and business affairs of the bankruptcy

estate as a debtor in possession since that date.

         2. Debtor represents on the face of its petition that its corporate offices are in Atlanta,

Georgia. However, according to the records of the Georgia Secretary of State available on its

Internet web site, Debtor is not a Georgia corporation, nor has it complied with the provisions of

O.C.G.A. 14-2-1501 requiring foreign corporations to obtain a certificate of authority from the

Secretary of State to transact business in this state.
Case 03-93031-bem
      Case 1:25-cv-00613-MLB
                    Doc 13 Filed
                               Document
                                 04/10/035-3Entered
                                               Filed04/10/03
                                                     03/07/2518:40:35
                                                                Page 2 of
                                                                       Desc
                                                                          7 Main
                            Document Page 2 of 4



       3. The petition was signed by Thomas Ware (“Mr. Ware”) in his asserted capacity as

Debtor’s attorney. However, at the time the petition was filed Mr. Ware was not authorized to

practice law in this Court, having been suspended from practice in the Northern District of Georgia

by order of the United States District Court entered on June 29, 1999, due to his failure to comply

with two (2) orders assessing monetary sanctions against him under Bankruptcy Rule 9011 for filing

incomplete, inaccurate and unwarranted petitions in prior bankruptcy cases. On March 26, 2003,

this Court entered an order giving the Debtor fifteen (15) days to obtain an attorney licensed to

practice and currently in good standing in this district, and on April 8, 2003, Sims W. Gordon, Jr.,

Esq., entered an appearance as counsel for the Debtor.

       4. Represented by Mr. Gordon, Debtor has filed an Emergency Motion to Reject Executory

Contract (“the Emergency Motion”) seeking to reject its obligation under the terms of a convertible

Financing Transaction to honor certain stock conversion requests made by the following creditors:

Alpha Capital Aktiengesellschaft, Amro International, S.A., Markham Holdings, Ltd., and

Stonestreet Limited Partnership.

       5. Attached as Exhibit “A” to this Motion is a copy of an order (“the Contempt Order”)

issued on or about March 13, 2003 by the United States District Court for the Southern District of

New York, holding the Debtor and two of its directors, including Mr. Ware, in contempt for their

disobedience of a prior order directing them to honor what appear to be the same conversion requests

that are the subject of the Emergency Motion. The Contempt Order provided for the issuance of a

warrant for the arrest of Mr. Ware and the other director unless the conversion requests were honored

within three (3) days of service of the Contempt Order by certified mail. The United States Trustee

submits that it is evident from these circumstances that Mr. Ware signed and filed the petition


                                                 2
Case 03-93031-bem
      Case 1:25-cv-00613-MLB
                    Doc 13 Filed
                               Document
                                 04/10/035-3Entered
                                               Filed04/10/03
                                                     03/07/2518:40:35
                                                                Page 3 of
                                                                       Desc
                                                                          7 Main
                            Document Page 3 of 4



commencing the present case for the purpose of avoiding or forestalling his arrest under the

Contempt Order.

        6. Debtor has failed to discharge its duty under 11 U.S.C. § 521(1) and Bankruptcy Rule

1007 to file schedules and assets of liabilities and a statement of financial affairs within fifteen (15)

days of the date of filing of the petition and has likewise failed to comply with its duty under 11

U.S.C. § 704(8), made applicable to it as a debtor in possession by 11 U.S.C. §§ 1106(a)(1) and

1107, to provide the Office of the United States Trustee with requested documentation concerning

its bank accounts and insurance coverage.

        7. Based on the foregoing facts and circumstances, the United States Trustee submits that

Debtor filed this case in bad faith for the improper purpose of obstructing and delaying creditors in

the enforcement of their rights and remedies under non-bankruptcy law and without any bona fide

reorganizational purpose. Under these circumstances, the Court is authorized by 11 U.S.C. § 105(a)

to take necessary and appropriate action to prevent further abuse of its process by the Debtor.

        WHEREFORE, the United States Trustee respectfully moves this Court to enter an order

converting this case to a case under chapter 7 of the Bankruptcy Code or, in the alternative, acting

pursuant to its authority under 11 U.S.C. § 105(a) to take necessary and appropriate action to prevent

abuse of its process, dismissing it with the proviso that Debtor shall be ineligible to seek further

relief under chapter 11 of the Bankruptcy Code for a period of 180 days.


                                                    C. DAVID BUTLER
                                                    United States Trustee
                                                    Region 21


                               [Signatures of Counsel On Next Page]


                                                   3
Case 03-93031-bem
      Case 1:25-cv-00613-MLB
                    Doc 13 Filed
                               Document
                                 04/10/035-3Entered
                                               Filed04/10/03
                                                     03/07/2518:40:35
                                                                Page 4 of
                                                                       Desc
                                                                          7 Main
                            Document Page 4 of 4




                                                    /s/
                                              GUY G. GEBHARDT
                                              Assistant United States Trustee
                                              Georgia Bar No. 288550

                                                    /s/
                                              JAMES H. MORAWETZ
                                              Senior Attorney
                                              Georgia Bar No. 521900

Office of the United States Trustee
362 Richard Russell Building
75 Spring Street
Atlanta, Georgia 30303

Tel: (404) 331-4437



                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing UNITED STATES TRUSTEE'S
MOTION FOR DISMISSAL WITH PREJUDICE OR FOR CONVERSION TO CHAPTER 7 was
this day sent by U.S. Mail, properly addressed and with correct postage, to the following:

Thomas Ware, Esq.
Rosenfeld, Goldman & Ware, Inc.
101 Marietta Street
Suite 1070
Atlanta, GA 30303

Sims W. Gordon, Jr., Esq.
Gordon & Boykin
2130 Kingston Court, SE
Suite B
Marietta, GA 30067

       This the 10th    day of April, 2003.

                                                    /s/
                                              JAMES H. MORAWETZ
                                              Senior Attorney


                                              4
    Case Case
         03-93031-bem
              1:25-cv-00613-MLB
                         Doc 13-1 Document
                                   Filed 04/10/03
                                             5-3 Entered
                                                   Filed 03/07/25
                                                            04/10/03 Page
                                                                     18:40:35
                                                                          5 of 7 Desc
                                Exhibit "A" Page 1 of 3

?

    United States District Court
    Southern District o f New York




                                                                 02 Civ. 2219 (LBS)
                                      Plaintiffs,

                        -against -
                                                                     Me
                                                                      r
     Group Management Corp., formerly known as
     IVG Corp., formerly known as Internet Venture
     Group, Inc., Thomas Ware, Len Chum and Bany
     Corker, -




            Whereas, the plaintiffs Alpha Capital Aktiengesellschaft, Amro International, S. A.,

    Markham Holdings, Ltd., and Stonestreet Limited Partnership (collectively the 'Tlaintiffs"), have

    moved this Court by Order to Show Cause dated February 20,2003, for an Order holding

    defendants Group Management Corp. and its directors Thomas Ware, Len Churn and Barry

    Corker in contempt for the failure to honor conversion requests duly submitted by Plaintiffs, as

    Group Management Corp. and all those in active concert with it were required to do pursuant to

    this Court's Order and Judgment o f November 25,2002; and
                                                                                                        r



            Whereas, based upon the affidavits o f service Eled with the Court, it appears that Group

    Management Corp., Thomas Ware and Barry Corker were duly served with said Order to Show

    Cause; and




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,   "   1   Case Case
                 03-93031-bem
                      1:25-cv-00613-MLB
                                 Doc 13-1 Document
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                                                     5-3 Entered
                                                           Filed 03/07/25
                                                                    04/10/03 Page
                                                                             18:40:35
                                                                                  6 of 7 Desc
                                        Exhibit "A" Page 2 of 3


                   Whereas, Group Management Corp., Thomas Ware and Barry Corker failed to appear at

            the hearing on March 3,2003 and oppose the within motion; and




                   Whereas, by Order dated January 15,2003, the Court ordered Group Management Corp.
                                                                                                    C?




            to cause substitute counsel to appear on or before March 3,2003, failing which theEo&'irvould

            award Plaintiffs' additional damages and attorneys' fees as therein set forth and




                   Whereas, Group Management Cop. failed to file with the Clerk o f this Court a notice o f

            appearance by substitute counsel on or before March 3,2003 as Ordered by this Court on January

            15,2003;



                   Now, therefore, it i s




                   Ordered that defendants Group Management Corp. and its directors Thomas Ware and

            Barry Corker are hereby held in contempt for their disobedience o f the Order and Judgment o f      .

            this Court o f November 25,2002; and it is further




                   Ordered that in the event that Group Management Corp. and its directors Thomas Ware

            and Barry Corker do not honor Plaintiffs' pending conversion requests within three (3) days o f

            the mailing o f this Order via Certified Mail to the addresses at which they were served with the

            Order to Show Cause, then Group Management Corp. shall pay to Plaintiffs the sum o f

            $1,000.00 per day unl
                                t
                                iit complies with the Order and Judgment ofNovember 25,2002 and the


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      Case Case
           03-93031-bem
                1:25-cv-00613-MLB
                           Doc 13-1 Document
                                     Filed 04/10/03
                                               5-3 Entered
                                                     Filed 03/07/25
                                                              04/10/03 Page
                                                                       18:40:35
                                                                            7 of 7 Desc
                                  Exhibit "A" Page 3 of 3

r
     Court shall issue a warrant for the arrest o f Thomas Ware and Barry Corker and they shall stand
                                                       JL wb & b e   l - Wh*L *f
                                                                     b                    %h                 %f

                                                  1
     committed in the custody o f the U.S. Marshal u    n l
                                                          t
                                                          ithe contempt i s purged by honoring all o f the

     conversion requests duly submitted by Plaintiffs; and it i s further


                                                                                                -
             Ordered that pursuant to the Order o f this Court dated January 15,2003, Plahtiffi'ilre

     awarded additional damages, based upon their application dated December 26,2002, in the

     amount o f $119,700.00 plus interest from February 7,2002 in the amount o f $11,670.45 (through

     March 7,2003), attorney's fees in the amount o f $119,812.50 and expensss in the amount o f

     $4,997.35;   and it i s further



             Ordered that pursuant to the Order o f this Court o f January 15,2003, the provisions of

     paragraphs 8(e)-(f) o f the Order and Judgment of November 25,2002 which provided for an

     escrow o f funds recovered by Plaintiffs are stricken.
-x




     Dated: Makh 1) 2003




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